            Case 1:17-cv-00445-RP Document 1 Filed 05/12/17 Page 1 of 6



                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

KAETHE G. JOHNSON,                           §
                                             §
               Plaintiff,                    §
                                             §
       v.                                    §     C.A. No. 1:17-cv-445
                                             §
WASHINGTON NATIONAL                          §
INSURANCE COMPANY,                           §
                                             §
               Defendant.                    §

                            DEFENDANT’S NOTICE OF REMOVAL

       COMES NOW Defendant, WASHINGTON NATIONAL INSURANCE COMPANY

(“Washington National”), by counsel, pursuant to 28 U.S.C. §§ 1332, 1441(a) and 1446, and

hereby gives notice of removal of the above-styled matter from the 250th Judicial District Court

of Travis County, Texas, to the United States District Court for the Western District of Texas,

Austin Division.

       An Index of State Court Matters and Civil Cover Sheet are filed simultaneously herewith.

In support of removal, Washington National states as follows:

A.     Introduction

       1.   On or about April 17, 2017, Plaintiff KAETHE G. JOHNSON (“Plaintiff”) filed an

Original Petition & Request For Disclosure (“the Original Petition”) against WASHINGTON

NATIONAL INSURANCE COMPANY (“Defendant”) in the 250th Judicial District Court of

Travis County, Texas, under Cause No. D-1-GN-17-001688 (the “State Court Action”).

       2.   Copies of the Original Petition were served on Washington National’s registered

agent for service of process on April 21, 2017.




DEFENDANT’S NOTICE OF REMOVAL                                                            PAGE 1
            Case 1:17-cv-00445-RP Document 1 Filed 05/12/17 Page 2 of 6



       3.   All State Court Action materials served on Washington National are included in the

Index filed simultaneously herewith as Exhibit A, as required by 28 U.S.C. § 1446.

       4.   The Original Petition generally alleges Defendants committed fraud, negligence,

breach of contract, and breach of duty of good faith and fair dealing under common law, and

violated the Texas Insurance Code, the Texas Business & Commerce Code and the Texas

Deceptive Trade Practice Act. (See Exhibit A, Original Petition).

       5.   Plaintiff asserts the following causes of actions against the Defendants: (a)

negligence; (b) breach of contract; (c) breach of duty of good faith and fair dealing under

common law; (d) breach of duty of good faith and fair dealing under the contract; (e) violations

of the Texas Insurance Code and Texas Business & Commercial Code; (f) violations of the

Deceptive Trade Practice Act; (g) intentional violations of the Deceptive Trade Practice Act and

the Texas Insurance Code, (h) fraud under common law; and (i) fraudulent inducement. (Id. at

¶¶11-36).

       6.   According to the “Discovery-Control Plan” and “Claim For Relief” sections of the

Original Petition, Plaintiff seeks to recover the following from the Defendant:

               . . . Plaintiff seeks monetary relief over $100,000 . . . .

                                                       (Id. at ¶1.)

               Plaintiff seeks monetary relief over $200,000 but not more than
               $1,000,000.
                                                   (Id. at ¶2.)

       7.   This Court has original jurisdiction based on diversity of citizenship and the amount

in controversy under 28 U.S.C. § 1332; thus, this State Court Action is removable under 28

U.S.C. § 1441(a).




DEFENDANT’S NOTICE OF REMOVAL                                                             PAGE 2
             Case 1:17-cv-00445-RP Document 1 Filed 05/12/17 Page 3 of 6



B.      The Removal Notice is Timely

        8.   This Notice of Removal is timely filed under 28 U.S.C. § 1446(b) as the thirty-day

time period began running no earlier than April 21, 2017, the date on which Washington

National was served with a copy of the Original Petition. (See Exhibit A, Citation) See, Murphy

Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999); see also, Spoon v. Fannin

County Cmty. Supervision & Corr. Dep’t, 794 F. Supp. 2d 703, 705 (E.D. Tex. 2011) (“The Fifth

Circuit has further established that the thirty day period starts to run as soon as the first defendant

is served.”).

C.      Venue is Proper in this Court

        9.   Venue properly lies in this United States District Court for the Western District of

Texas, Austin Division, under 28 U.S.C. § 1391(a)(2) and 28 U.S.C. § 95(a)(2), as this Division

of this District embraces the location of the Texas state court where the State Court Action is

currently pending.

D.      Diversity of Citizenship Exists

        10. This is an action between citizens of different states. An individual’s citizenship is

based on his or her domicile. Brady v. Denton County Elec. Coop., Inc., No. 4:09-CV-130, 2009

U.S. Dist. LEXIS 89062, *19 (E.D. Tex. Sept. 25, 2009). An individual’s domicile is where he or

she has a fixed residence and intends to remain indefinitely. Allen v. Dovenmuehle Mortg., Inc.,

No. 3:13-CV-4710-L, 2012 U.S. Dist. LEXIS 98475, *8 (N.D. Tex. Jul. 21, 2014).

        11. Here, Plaintiff, Kaethe G. Johnson, alleges to be a resident of Travis County, Texas.

(See Exhibit A, Original Petition, ¶3) (“Plaintiff . . . is an individual residing in Travis County,

Texas.”). Therefore, Plaintiff is presumed to be a citizen of Texas for the purposes of diversity

jurisdiction.



DEFENDANT’S NOTICE OF REMOVAL                                                                  PAGE 3
             Case 1:17-cv-00445-RP Document 1 Filed 05/12/17 Page 4 of 6



See, Brady, supra, at *20 (“[P]resenting evidence of the person’s residence raises a presumption

of [her] domicile.”).

       12.     To the extent any additional proof is required, according to the Application for

Insurance signed by Plaintiff, she lived in San Antonio, Bexar County, Texas on March 11, 2002.

(See Exhibit B attached hereto, Affidavit of Kimberly Martin, ¶5). This fact further prove that

Plaintiff is firmly rooted in, and indeed a citizen of, Texas.

       13. A corporation’s citizenship is based on its State of incorporation and principal place

of business. 28 U.S.C. § 1332(c)(1).

       14. Here, Washington National is an Indiana corporation with its principal place of

business in Indiana. (See Exhibit C attached hereto, Affidavit of Karl Kindig, ¶3). Thus,

Washington National is a citizen of the State of Indiana.

E.     The Amount in Controversy Requirement is Satisfied

       15. In addressing the amount in controversy, Washington National does not concede the

validity of Plaintiff’s claims or attempt to predict what Plaintiff will recover. The amount in

controversy is determined by the amount demanded, not what will ultimately be recovered. St.

Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289-290 (1938). The amount in

controversy includes all damages available under the law governing the suit. Lester v. Lester, No.

3:06-CV-1357-BH, 2009 U.S. Dist. LEXIS 101475, *12 (N.D. Tex. Oct. 29, 2009).

       16. Where it is facially evident that the complaint seeks more than $75,000, the

defendant may rely on the face of the complaint as proof that the amount in controversy

requirement is satisfied. Wilson-Ramsey v. Allstate Ins. Co., No. 07-7597, 2007 U.S. Dist.

LEXIS 93924, *1-2 (E.D. La. Dec. 21, 2007).




DEFENDANT’S NOTICE OF REMOVAL                                                             PAGE 4
            Case 1:17-cv-00445-RP Document 1 Filed 05/12/17 Page 5 of 6



         17. Here, the Original Petition expressly requests relief of at least $200,000. (See Exhibit

A, Original Petition, ¶¶1, 2). Thus, Plaintiff’s request for relief establishes the monetary

threshold to support removal.

         18. As required by 28 U.S.C. §1446(d), written Notice of Removal is being given to all

adverse parties, and a copy of the Notice is being filed with the District Court of Travis County,

Texas.

F.       Prayer

         WHEREFORE, Defendant Washington National, by counsel, respectfully requests that

the State Court Action be removed from the District Court of Travis County, Texas, to the

United States District Court for the Western District of Texas, Austin Division, and proceed as

an action properly removed thereto.

         Dated: May 12, 2017

                                               Respectfully submitted,


                                               By:    s/ Nicole H. Muñoz
                                                      Andrew G. Jubinsky
                                                      Texas Bar No. 11043000
                                                      andy.jubinsky@figdav.com
                                                      Nicole H. Muñoz
                                                      State Bar No. 24098153
                                                      nicole.munoz@figdav.com
                                               FIGARI &DAVENPORT, L.L.P.
                                               3400 Bank of America Plaza
                                               901 Main Street
                                               Dallas, Texas 75202
                                               Telephone: (214) 939-2000
                                               Facsimile: (214) 939-2090
                                               ATTORNEYS FOR WASHINGTON NATIONAL
                                               INSURANCE COMPANY




DEFENDANT’S NOTICE OF REMOVAL                                                                PAGE 5
           Case 1:17-cv-00445-RP Document 1 Filed 05/12/17 Page 6 of 6



                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document has been served

on the parties listed below on May 12, 2017:

       Matthew J. Riley
       John P. Cowart
       SHAW COWART, LLP
       1609 Shoal Creek Boulevard
       Suite 100
       Austin, TX 78701
       ATTORNEYS FOR PLAINTIFF


                                               s/ Nicole H. Muñoz
                                               Nicole H. Muñoz




DEFENDANT’S NOTICE OF REMOVAL                                                            PAGE 6
